Case 2:25-cv-02799-JMW Document4 Filed 05/20/25 Page 1 of 6 PagelD #: 37

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of New York

PATRICIA LAGANA,

Plaintiff(s)
V.

NORTHWELL HEALTH, INC., NORTH SHORE-LIJ
CARDIOVASCULAR MEDICINE, P.C., and ORLIN &
COHEN ORTHOPEDIC ASSOCIATES, LLP,

Civil Action No. 25-¢v-02799-JMW

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Defendant(s)
SUMMONS IN A CIVIL ACTION

TO: (Defendant’s name and address) NORTHWELL HEALTH, INC.
Attn: Laurence Kraemer, General Counsel
2000 Marcus Avenue
New Hyde Park, New York 11042

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Nisar Law Group, PC

Attn: Susan Ghim, Esq.
60 East 42nd Street, Suite 4600
New York, NY 10165

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

BRENNA B. MAHONEY
CLERK OF COURT

5/20/2025
Date:

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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 25cv2799

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

On (date) ; Or

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

ON (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) . who is

designated by law to accept service of process on behalf of (name of organization)

ON (date) ; or
1 I returned the summons unexecuted because > or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of New York

PATRICIA LAGANA,

Plaintiff(s)
V.

NORTHWELL HEALTH, INC., NORTH SHORE-LIJ
CARDIOVASCULAR MEDICINE, P.C., and ORLIN &
COHEN ORTHOPEDIC ASSOCIATES, LLP,

Civil Action No. 25-cv-02799-JMW

Nee ee Ne ee “Se “Se

Defendant(s)
SUMMONS IN A CIVIL ACTION

TO: (Defendant’s name and address) NORTH SHORE-LIJ CARDIOVASCULAR MEDICINE, P.C.
Attn: Laurence Kraemer, General Counsel
2000 Marcus Avenue
New Hyde Park, New York 11042

A lawsuit has been filed against you.

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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Nisar Law Group, PC

Attn: Susan Ghim, Esq.
60 East 42nd Street, Suite 4600
New York, NY 10165

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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BRENNA B. MAHONEY
CLERK OF COURT

5/20/2025
Date:

Signature of Clerk or Deputy Clerk

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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 25cv2799

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AO 440 (Rev. 06/12) Summons in a Civil Action

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for the

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V.

NORTHWELL HEALTH, INC., NORTH SHORE-LIJ
CARDIOVASCULAR MEDICINE, P.C., and ORLIN &
COHEN ORTHOPEDIC ASSOCIATES, LLP,

Civil Action No. 25-cv-02799-JMW

Nee ee Ne ee “Se “Se

Defendant(s)
SUMMONS IN A CIVIL ACTION

TO: (Defendant’s name and address) ORLIN & COHEN ORTHOPEDIC ASSOCIATES, LLP
Attn: Win Hayes, Vice President
1728 Sunrise Highway
Merrick, New York 11566

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
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BRENNA B. MAHONEY
CLERK OF COURT

5/20/2025
Date:

Signature of Clerk or Deputy Clerk

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Additional information regarding attempted service, etc:
